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UNITED STATES DISTRICT CouRT |Mf
FOR THE DISTRICT OF COLUMBIA C/SO

Date
)
UNITED STATES OF AMERICA )
) Criminal No. 21-380 (CKK)
v. )
BRIAN JEFFREY RAYMOND, ) SEALED, Ex Parte, In Camera
Defendant. )
a)
ORDER
(October {2, 2023)

For the reasons stated in the accompanying sealed, ex parte memorandum opinion, it is
hereby

ORDERED, that the Government’s £x Parte, In Camera, Under Seal Motion is
GRANTED IN PART AND DENIED IN PART. It is further

ORDERED, that the Motion is DENIED only to the extent that the Government shall
replace in its proposed substitutions SoS ae) for “Country 6.” The Court
further finds as follows:

1. The Motion was properly filed ex parte and in camera for the Court's review,
pursuant to CIPA § 4 and Fed. R. Crim. P. 16(d)(1).

2. The classified information referenced in the Motion and its associated exhibits
implicates the Government’s classified information privilege because the information
is properly classified and its disclosure could reasonably be expected to cause serious
damage to the national security of the United States.

3. Furthermore, CIPA § 4 permits the Government, upon a sufficient showing and with
authorization from the Court, to provide an unclassified or less-classified summary
substitution in place of certain classified information. Having carefully reviewed the
classified material at issue, the Court finds that the Government has made the
requisite showing and that the proposed substitutions are adequate, with the exception
of the moniker “Country 6” (“Caveat”). Accordingly, the Court hereby authorizes the
Government to provide the proposed substitution to the defense and to withhold from
discovery the underlying classified material relating thereto, subject to the foregoing
Caveat.

4. Finally, the Court finds that the “relevant and helpful” standard articulated in United
States v. Roviaro, 353 U.S, 53 (1957) and United States v. Yunis, 867 F.2d 617 (D.C.

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Cir. 1989) is the appropriate standard by which to analyze whether the Government
must disclose in discovery the classified information where, as here, the Government
has properly invoked the classified information privilege.

5. In sum, the Court finds that the withholdings authorized by this Order are consistent
with the Government’s discovery obligations, subject to the foregoing Caveat.

ORDERED, that the entire text of the Motion and the exhibits thereto shal] not be
disclosed to the defense and shall be sealed and preserved in the Court’s records to be made
available for any future review of these proceedings. It is further

ORDERED, that the Government shall forward a copy of this order and accompanying
memorandum opinion to the appropriate classification authority to redact this order and
accompanying memorandum opinion to the extent necessary to provide copies to cleared counsel
and the public.

SO ORDERED.

Dated: October | 8, 2023 Cbs Mable ide
COLLEEN KOLLAR-KOTELLY

United States District Judge

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